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                               UNITED STATES DISTRICT COURT
                                 DISTRICT OF CONNECTICUT

 UNITED STATES OF AMERICA                         :          Crim. No. 3:21-CR-220 (VAB)
                                                  :
                          v.                      :
                                                  :
 MAHESH PATEL,                                    :           April 2, 2023
 ROBERT HARVEY,                                   :
 HARPREET WASAN,                                  :
 STEVEN HOUGHTALING,                              :
 TOM EDWARDS, and                                 :
 GARY PRUS                                        :



            MOTION IN LIMINE TO PRECLUDE CROSS-EXAMINATION WITH
                            INTERVIEW SUMMARIES

       The Government moves this Court in limine to preclude the improper cross-examination

of fact witnesses with interview summaries prepared by federal agents. Such evidence and lines of

inquiry are not statements of the person interviewed under the Jencks Act, and, therefore, are

prohibited under the Federal Rules of Evidence.

       I.       Interview Summaries are Not Prior Witness Statements Under the Jencks Act.

       In order to provide for full and fair cross-examination, the Jencks Act requires that after a

witness for the United States testifies on direct examination, the Government must provide, on

motion of the defense, any statements made by the witness in the Government’s possession that

relate to the subject of his or her testimony. 18 U.S.C. § 3500(b). A statement within the meaning

of the Jencks Act is defined as “a written statement made by said witness and signed or otherwise

adopted and approved by him;” a recording or transcription that “is a substantially verbatim recital

of an oral statement made by said witness and recorded contemporaneously;” or a statement made

by a witness to a grand jury. 18 U.S.C. § 3500(e).1


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            Here, the Government has provided witness interview summaries and materials in
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       In Palermo v. United States, the Supreme Court held that because the Jencks Act is meant

to restrict the defendant’s use of discoverable statements for impeachment, 360 U.S. 343, 349

(1959), “only those statements which could properly be called the witness’ own words should be

made available to the defense.” Id. at 352. The Court went on to elaborate that “summaries of an

oral statement which evidence substantial selection of material” or “statements which contain [an]

agent’s interpretations or impressions” are “not to be produced.” Id. at 352-53. To allow agents’

interview summaries to be admitted under Jencks would disregard the purpose of the Act. Id. at

350 (“One of the most important motive forces behind the enactment of this legislation was the

fear that an expansive reading of Jencks would compel the undiscriminating production of agent’s

summaries of interviews regardless of their character or completeness.”). Additionally, the Court

noted that it would be “grossly unfair” to allow impeachment of a witness with statements that

were not the witness’ own rather than the “product of the investigator’s selections, interpretations,

and interpolations.” Id.

       Consistent with Palermo, interview summaries are not discoverable under the Jencks Act

for the witness whose statements are being summarized because they are not statements of the

witness within the meaning of the statute. Unless a witness has reviewed and adopted an interview

summary – which did not occur in this case – the interview summary is not a statement of the

witness under subsection (e)(1) of the Jencks Act. Moreover, because the interview summaries

are written after interviews are completed and reflect the thought process and interpretations of the

agent, they do not constitute a contemporary and substantially verbatim recital of the witness’s

statement under subsection (e)(2). As the Second Circuit has recognized, a “third party’s



advance, usually months in advance, to the defense.
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characterization of a witness’s statement does not constitute a prior statement of that witness unless

the witness has subscribed to that characterization.” United States v. Almonte, 956 F.2d 27, 29 (2d

Cir. 1992).

       II.     The Improper Use of Interview Summaries During Salvatore’s Testimony

       In Court on March 31 during the testimony of Jordan Salvatore, counsel for Defendant

Wasan attempted to cross-examine the witness’s testimony multiple times with federal agents’

interview summaries of Mr. Salvatore. Counsel first cross-examined Mr. Salvatore on his

testimony concerning the location of his meeting with Defendant Wasan by suggesting that Mr.

Salvatore did not recall the location of the meeting. Tr. 663. At sidebar, the Government indicated

that Mr. Salvatore did not have a lack of memory as to the location (to which the Court seemed to

agree) and disputed counsel for Wasan’s characterization that the interview summary was a prior

inconsistent statement (to which the Court also seemed to agree). Tr. at 664. Upon further cross-

examination, Mr. Salvatore maintained that he did not tell the Government in an earlier interview

that the location of his meeting with Defendant Wasan was elsewhere. Tr. 666. Nevertheless, and

over Government objection, the Court permitted Wasan’s counsel to “refresh” Mr. Salvatore’s

memory when he did not have any memory lapse. Tr. at 666-67. Even thereafter, Mr. Salvatore

maintained the testimony he gave on direct examination. Tr. at 668.

       A similar line of cross-examination started with respect to Mr. Salvatore’s previous

testimony about who else was present at the February 17, 2016 meeting with Mr. Wasan. Tr. at

670-71. Although Mr. Salvatore maintained his did not think he told the Government anything

different, Wasan’s counsel began to call up another interview report of Mr. Salvatore before the

trial day ended. Tr. at 670-71.


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       Mr. Salvatore has not previously seen, much less adopted, the interview summaries that

Wasan’s counsel has used to try to impeach him. As discussed above, these reports are not Mr.

Salvatore’s statements at all, much less inconsistent statements. And to the extent that Wasan’s

counsel is trying to “refresh” Mr. Salvatore’s recollection, such questioning has thus far been

improper because Mr. Salvatore has not testified as to a lack of memory.

       III.    The Court Should Preclude the Improper Use of Interview Summaries.

       Accordingly, during the remaining cross examination of Mr. Salvatore and well as for other

fact witnesses, the Government respectfully requests that the Court preclude (1) the introduction

the contents of the interview summaries to impeach witnesses on the basis of inconsistent

statements because the interview summaries are not the statements of the witnesses themselves;

(2) the use of interview summaries to “refresh” a witness’s recollection if there has been no proper

foundation laid for the witness’s lack of memory; and (3) Defendants from otherwise suggesting

to the jury that the interview summary is a statement of the witness, for example by reading from

interview summary while cross-examining the witness. See, e.g., United States v. Marks, 816 F.2d

1207, 1210-11 (7th Cir. 1987) (holding that where defense counsel read from a 302 during cross-

examination in a way that would “seem authoritative” and potentially confuse the jury, the judge

was entitled to require the witness be shown the 302 and given the opportunity to adopt or reject

it as a statement, although such a practice was no longer required by the Federal Rules of

Evidence).

       The Government respectfully submits that this is necessary “to avoid . . . unfairness that

results from the use of distorted and inaccurate material.” Lamma, 349 F.2d at 340. The defense

is, of course, free to ask a witness whether he or she made a statement that is reflected in an


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interview summary. However, if the defense is not satisfied with the witness’s answer, the defense

may not publish or introduce the contents of the interview summary as a prior inconsistent

statement. See United States v. Leonardi, 623 F.2d 746, 757 (2d Cir. 1980) (holding that because

“the written statement of the FBI agent was not attributable to [the witness]” it was “properly

rejected as a prior inconsistent statement”); United States v. Brika, 416 F.3d 514, 529 (6th Cir.

2005) (holding that “such documents [FBI 302s] have been deemed inadmissible for impeaching

witnesses on cross-examination”); United States v. Hill, 526 F.2d 1019, 1026 (10th Cir. 1975)

(upholding the trial court’s decision to “not allow counsel to use the 302 statement to impeach a

witness because the witness did not prepare or sign the document and probably never adopted it”).

Nor should they be permitted to improperly refresh the witness’s recollection if there is nothing to

refresh; merely badgering the witness to try to say something different is not permissible.

                                              Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

        I hereby certify that on April 2, 2023, a copy of the foregoing motion was filed
electronically and served by mail on anyone unable to accept electronic filing. Notice of this
filing will be sent by e-mail to all parties by operation of the Court’s electronic filing system or
by mail to anyone unable to accept electronic filing as indicated on the Notice of Electronic
Filing. Parties may access this filing through the Court’s CM/ECF System.

                                               /s/ David T. Huang
                                               David T. Huang
                                               Assistant United States Attorney




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